                Case 5:25-cr-00310                Document 1        Filed on 02/01/25 in TXSD                Page 1 of 2
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Southern District
                                                   __________  District of
                                                                        of __________
                                                                           Texas

                  United States of America                            )
                             v.                                       )
         Jose Guadalupe HERNANDEZ-Garza
                                                                      )      Case No.
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  January 31, 2025                 in the county of                Webb              in the
     Southern          District of            Texas               , the defendant(s) violated:

            Code Section                                                        Offense Description
Title 18 United States Code,                      Posssession of a firearm by an alien illegally or unlawfully in the United
Section 922(g)(5)(A)                              States




         This criminal complaint is based on these facts:
See Attachment A.




         ✔ Continued on the attached sheet.
         ’


                                                                                                 Complainant’s signature

                                                                                    Christopher L. Joliet II, ATF Special Agent
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                                    Judge’s signature

City and state:                          Laredo, Texas                           Christopher dos Santos , U.S. Magistrate Judge
                                                                                                  Printed name and title



        Print                        Save As...                   Attach                                                   Reset
 Case 5:25-cr-00310       Document 1        Filed on 02/01/25 in TXSD        Page 2 of 2




                                      Attachment A
1. On Friday, January 31, 2025, the Bureau of Alcohol, Tobacco, Firearms and Explosives,
   Laredo Police Department, Laredo Police Department officers and SWAT, Border Patrol
   BORTAC, DEA Laredo, Texas DPS, HSI Laredo, and ICE ERO executed a federal
   search warrant on the 3000 block of Monterrey Street, Laredo, Texas 78046.

2. During the execution of the search warrant, Jose Guadalupe HERNANDEZ-Garza was
   removed from the residence by Laredo Police Department SWAT. Department of
   Homeland Security, Homeland Security Investigations and U.S. Immigration and
   Customs Enforcement, Enforcement Removal Operations agents verified that
   HERNANDEZ-Garza was an alien illegally inside of the United States.


3. Agents and officers conducted a search of the residence and discovered a bedroom
   suspected of belonging to HERNANDEZ-Garza containing two firearms, drugs, a scale,
   and HERNANDEZ-Garza’s Mexican Passport. The firearms were identified as a Davis
   Industries, model P-380, .380 auto caliber pistol bearing serial number AP118932 and a
   Cobra Enterprises Inc., model Patriot, 9mm pistol bearing serial number 06219.


4. HERNANDEZ-Garza was taken into custody by HSI and ICE.


5. The firearms and evidence were taken into ATF custody. A preliminary examination of
   the firearms indicated that they were manufactured outside of the State of Texas therefore
   traveling in or affecting interstate commerce.


6. Possession of a firearm by an alien illegally in the United States is a violation of 18 USC
   922(g)(5).
